       Case 8-24-71468-las              Doc 68     Filed 08/15/24    Entered 08/15/24 16:25:02




The Kantrow Law Group, PLLC
Attorneys for Allan B. Mendelsohn, Trustee
732 Smithtown Bypass, Suite 101
Smithtown, New York 11787
516 703 3672
fkantrow@thekantrowlawgroup.com
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------x
In re:
                                                                    Case No. 24-71468-las
         BENJAMIN O. RINGEL,                                        Chapter 7

                           Debtor.
------------------------------------------------------------x
                             NOTICE OF PROPOSED ABANDONMENT
                               OF PROPERTY OF DEBTOR’S ESTATE


TO ALL PARTIES IN INTEREST:

        PLEASE TAKE NOTICE that Allan B. Mendelsohn, Chapter 7 Trustee (the “Trustee”)
of the estate of Benjamin O. Ringel, the debtor (the “Debtor”), by and through his attorneys, The
Kantrow Law Group, LLC, under Rule 6007 of the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”) and section 554(b) of title 11 of the United States Code (the “Bankruptcy
Code”), notice is hereby given of the proposed abandonment of all of the Trustee’s right, title,
interest in the following described property, that is burdensome to the Debtor’s estate and/or is of
inconsequential value or benefit to the Debtor’s estate:

                  The personal property of the Debtor’s deceased mother, Klara Ringel, administered
                  by the Court Appointed Administrator, Kenneth Lackey, Esq. as the property is of
                  little or inconsequential value for the bankruptcy estate.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief sought in the
Notice of Proposed Abandonment must conform to the Bankruptcy Rules and the Local Rules of
the Bankruptcy Court, as modified by any administrative orders entered in this case, and be filed
with the Bankruptcy Court electronically in accordance with any Administrative Orders of this
Court, by registered users of the Bankruptcy Court’s case filing system and, by all other parties in
interest, on a 3.5 inch disk, preferably in Portable Document Format (PDF), WordPerfect or
Microsoft Word, DOS text (ASCII) or a scanned image of the filing, with a hard copy delivered
directly to Chambers, and be served in accordance with any Administrative Orders of this Court,
and upon (i) counsel to Trustee, The Kantrow Law Group, PLLC, 732 Smithtown Bypass, Suite
101, Smithtown, New York 11787, so as to be received by no later than September 11, 2024, at
4:00 p.m.

       PLEASE TAKE FURTHER NOTICE that only those objections that have been timely
filed may be considered by the Court.
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       PLEASE TAKE FURTHER NOTICE that if no timely objections to the foregoing are
received by SEPTEMBER 11, 2024, at 4:00 p.m., the property described herein shall be deemed
abandoned without further notice.

       PLEASE TAKE FURTHER NOTICE that if objections are timely filed, a hearing to
consider the objections will be heard before Judge Louis A. Scarcella, United States Bankruptcy
Judge, on a date to be determined by the Court, at the United States Bankruptcy Court, 290 Federal
Plaza, Central Islip, New York 11722 in Courtroom 970 pursuant to the procedures set forth on
the Court’s website.

        PLEASE TAKE FURTHER NOTICE that in the event timely objections have been
received and filed with the Court and the Court schedules a hearing, the Trustee shall provide
notice of said hearing.

Dated: Smithtown, New York
       August 15, 2024

                                             The Kantrow Law Group, PLLC
                                             Attorneys for Allan B. Mendelsohn, Trustee

                                     BY:     S/Fred S. Kantrow
                                             Fred S. Kantrow
                                             732 Smithtown Bypass, Suite 101
                                             Smithtown, New York 11787
                                             516 703 3672
                                             fkantrow@thekantrowlawgroup.com
